            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                             1:07CR69-13

UNITED STATES OF AMERICA,                            )
                                                     )
Vs.                                                  )               ORDER
                                                     )
IMRAN ALAM.                                          )
__________________________________                   )

        THIS MATTER is before the undersigned magistrate judge upon the

court’s own Motion for Release of Bond. Review of court records reveals that this

defendant made all required appearances before this court and that this action was

dismissed by Order dated may 29, 2008. Based on such representations made to the

court, the court enters the following Order.

                                      ORDER

        IT IS, THEREFORE, ORDERED that the court’s own Motion for Release

of Bond is ALLOWED, the appearance bond in this matter is released and

otherwise exonerated, and the Clerk of this court is respectfully directed to return

to defendant, by way of counsel, or to the person posting the bond on behalf of

such defendant, any instrument securing such obligation. The Clerk is further

instructed to mark any such instrument as “satisfied,” or place thereon any such

other endorsement as may be required.




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                                     Signed: March 21, 2010




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